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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

                                   :
 DEPOMED, INC.,                    :
                                   :
                    Plaintiff,     :
                                   :        C.A. No. 3:12-cv-01358-JAP-TJB
                                   :
                v.                 :
                                   :
                                   :
 ACTAVIS ELIZABETH LLC et al.,     :
                                   :
                                   :
                    Defendants.    :
                                   :
                                   :
 DEPOMED, INC.,                    :
                                   :
                    Plaintiff,     :
                                   :        C.A. No. 3:12-cv-02813-JAP-TJB
                                   :
                v.                 :
                                   :        (Consolidated for Pretrial Purposes)
                                   :
 ZYDUS PHARMACEUTICALS (USA), INC. :
 et al.,                           :
                                   :
                                   :
                    Defendants.    :
                                   :



               DEFENDANTS’ JOINT OPENING MARKMAN BRIEF
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                                     Table of Abbreviations

 Abbreviation      Term

 Actavis           Defendants Actavis Elizabeth LLC and Actavis, Inc.

 Incepta           Defendants Incepta Pharmaceuticals Co. Ltd. and Abon Pharmaceuticals, LLC

 Zydus             Defendants Zydus Pharmaceuticals (USA), Inc., and Cadila Healthcare Ltd.

 Defendants        Actavis, Incepta and Zydus, collectively

 Depomed           Plaintiff Depomed, Inc.

 Parties           Plaintiff and Defendants

 Ex. X             Exhibit No. X attached to the Affidavit of Jason T. Murata filed concurrently
                   with this brief.

 Lowman Decl.      Declaration of Dr. Lowman in Support of Defendants’ Opening Markman
                   Brief, filed with this brief.

 XX:YY             Refers to column XX and line YY of a patent

 ‘475 patent       U.S. Patent No. 6,340,475 (Ex. 1)

 ‘962 patent       U.S. Patent No. 6,488,962 (Ex. 2)

 ‘280 patent       U.S. Patent No. 6,635,280 (Ex. 3)

 ‘927 patent       U.S. Patent No. 7,438,927 (Ex. 4)

 ‘989 patent       U.S. Patent No. 7,731,989 (Ex. 5)

 ‘756 patent       U.S. Patent No. 8,192,756 (Ex. 6)

 ‘332 patent       U.S. Patent No. 8,252,332 (Ex. 7)

 patents-in-suit   U.S. Patent Nos. 6,340,475, 6,488,962, 6,635,280, 7,438,927, 7,731,989,
                   8,192,756 and 8,252,332, collectively

 ‘475 patent       The ‘475 and ‘280 patents. These patents are based on the same patent
 family            application, U.S. Pat. App. No. 08/870,509, and they share substantially the
                   same disclosure. Thus, consistent with the Court’s practice in its prior claim
                   construction order relating to these patents, citations to the specifications of
                   these patents will be only to the ‘475 patent with the understanding that those
                   cited portions of the ‘475 patent also appear in the ‘280 patent, unless
                   otherwise noted.

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 Abbreviation   Term

 ‘927 patent    The ‘927, ‘989, ‘332 and ‘756 patents. These patents are based on the same
 family         patent application, U.S. Patent App. No. 10/208,309, and they share
                substantially the same disclosure. Thus, consistent with the Court’s practice in
                its prior claim construction order relating to these patents, citations to the
                specifications of these patents will be only to the ‘927 patent with the
                understanding that those cited portions of the ‘927 patent also appear in the
                other three related patents, unless otherwise noted.

 FDA            U.S. Food & Drug Administration

 NDA            New Drug Application

 ANDA           Abbreviated New Drug Application

 Orange Book    FDA publication “Approved Drug Products with Therapeutic Equivalence
                Evaluations”

 PTO            United States Patent and Trademark Office

 Sun case       Depomed Inc. et al. v. Sun Pharma Global FZE et al., No. 3:11-cv-03553-JAP-
                TJB (D.N.J.) (Pisano, J.); the Sun case involved different parties from the
                present case, and a different drug product (Glumetza – metformin HCl).

 Lupin case     Depomed, Inc. v. Lupin Pharms., Inc., No. 4:09-cv-5587-PJH (N.D. Cal.)
                (Hamilton, J.); the Lupin case involved different parties from the present case,
                and a different drug product (Glumetza – metformin HCl).

 Ivax case      Depomed, Inc. v. Ivax Corp. et al., No. 3:06-cv-00100-CRB (N.D. Cal.)
                (Breyer, J.); the Ivax case involved different parties from the present case, and
                a different drug product (Glucophage XR – metformin HCl).

 Sun Markman    Memorandum Opinion dated Aug. 3, 2012, Depomed, Inc. et al. v. Sun
 Order          Pharma Global FZE et al., No. 3:11-cv-03553-JAP-TJB (D.N.J.) (Pisano, J.)
                (D.I. 66) (Ex. 15)

 Lupin          Order Construing Claims dated May 17, 2011, Depomed, Inc. v. Lupin
 Markman        Pharms, Inc., No. 4:09-cv-5587-PJH (N.D. Cal.) (Hamilton, J.) (D.I. 107) (Ex.
 Order          14)

 Ivax Markman   Order dated Dec. 20, 2006, Depomed, Inc. v. Ivax Corp., No. 3:06-cv-00100-
 Order          CRB (N.D. Cal.) (Breyer, J.) (D.I. 76) (Ex. 22)




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                                         INTRODUCTION

        Defendants seek approval to sell generic gabapentin once-daily tablets. Gabapentin is a

 drug product that has been commercially available since the 1990s. In its once-daily form, it is

 indicated for the management of postherpetic neuralgia. Depomed is the NDA holder for

 gabapentin once-daily tablets, which it sells under the trade name Gralise®. In FDA’s Orange

 Book entry for Gralise®, Depomed has listed eight patents. Depomed has asserted 118 patent

 claims from seven of these patents against the Defendants in this action.1

        Because Depomed asserted a large number of patents and claims, there are a

 correspondingly large number of claim construction disputes. (See ECF No. 128-1, Ex. B

 (Ex. 212).) Defendants have tried to address disputed terms together where similar issues are

 raised, and have thereby divided the 24 disputed claim terms into nine groups. (See Ex. 11;

 Ex. 21 at Ex. B.) A detailed listing of the nine groups of disputed terms is set forth as

 Exhibit 11.

        Defendants’ proposed constructions clarify the meaning of the disputed terms consistent

 with the intrinsic record – i.e., the patent claims, specification and prosecution history.

 Depomed’s proposed constructions, by contrast, depart from the intrinsic record and selectively

 omit claim limitations or leave their meaning ambiguous, which will undoubtedly lead to future

 disputes over the meanings of those terms. Accordingly, the Court should adopt the Defendants’

 proposed claim constructions.

        The Parties have agreed on the meaning of a number of terms recited by the claims, and

 1
  Some of the claims have been asserted against fewer than all Defendants. To the extent any
 disputed claim term is only found in claims not asserted against a defendant, that defendant takes
 no position with respect to that claim term.
 2
  As set forth in the Table of Abbreviations, “Ex. X” refers to Exhibit No. X attached to the
 Affidavit of Jason T. Murata filed concurrently with this brief.



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 Defendants request that the Court adopt these agreed-upon definitions, set forth in Exhibit 10.

                                   FACTUAL BACKGROUND

 1.     GABAPENTIN

        The active ingredient of the products at issue, gabapentin, is not new. Gabapentin was

 originally approved by the FDA on December 30, 1993 as adjunctive therapy in the treatment of

 partial seizures and marketed by Pfizer (and its predecessor Parke-Davis) under the name

 Neurontin®. (See Ex. 8; ‘927 patent, 1:12-25.) In May 2002, Neurontin® was approved by FDA

 for the management of postherpetic neuralgia in adults. (See Exs. 9 and 20.)

 2.     THE PATENTS-IN-SUIT

          A.     The ‘475, ‘280 and ‘962 Patents

        The ‘475 and ‘280 patents relate to oral dosage forms designed for gastric retention and

 controlled delivery of a drug into the stomach, and the ‘962 patent relates to tablet shapes

 designed to enhance gastric retention of oral dosage forms. This Court has previously construed

 certain terms in these patents. (See generally Ex. 15.) The patents are described in more detail

 in the claim construction opinions in the Sun, Ivax and Lupin cases. (Exs. 15, 22, 14.)

          B.     The ‘927, ‘989, ‘756 and ‘332 Patents

        These patents purport to describe gastric retained dosage forms containing gabapentin.

 According to these patents, by extending the time period for which the gabapentin dosage form is

 retained in the stomach, the prolonged duration of the transit time provides for improved

 gabapentin absorption because gabapentin is known to be absorbed in the upper, but not the

 lower, gastrointestinal tract. (See, e.g., ‘927 patent, 1:25-36, 2:14-25.) The patents are also

 directed to methods of treating conditions specifically treated by gabapentin – epilepsy and

 neuropathic pain – using the gastric retained dosage forms. (See id. at 1:54-64.)




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                                           ARGUMENT

 1.     LAW OF CLAIM CONSTRUCTION

        The Court is familiar with the law governing claim construction. (See, e.g., Ex. 15.)

 Therefore, the legal principles governing Defendants’ claim constructions are recited in the

 context of the specific terms being construed.

        As set forth in detail below, Defendants’ proffered constructions adhere to the Federal

 Circuit’s longstanding maxim that, for purposes of claim construction, the specification is

 usually “dispositive,” and is, without question, the “single best guide” to the meaning of the

 terms in dispute. Phillips v. AWH Corp., 415 F.3d 1303, 1314-15 (Fed. Cir. 2005) (en banc)

 (citations omitted). Defendants’ proposed constructions also adhere to the principle that the

 prosecution history should also be consulted because it evidences how the inventor

 understood the invention and whether the inventor limited the invention in the course of

 prosecution, making the claim scope narrower than it would otherwise be. Id. at 1317. Other

 claim construction tools particularly germane to the present issues include:

           “[C]laims are interpreted with an eye toward giving effect to all terms in
            the claim.” Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir.
            2006) (citations omitted). The construction must not treat any claim
            language as meaningless or “mere surplusage.” Texas Instruments Inc. v.
            U.S. Int’l Trade Comm’n, 988 F.2d 1165, 1171 (Fed. Cir. 1993).

           The primary purpose of claim construction is to “resol[ve] disputed
            meanings and technical scope, [and] to clarify and when necessary to
            explain what the patentee covered by the claims.” U.S. Surgical Corp. v.
            Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997).




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 2.       “ADMINISTRATION” AND
          “ADMINISTERING” IN THE ‘927, ‘989, ‘756 AND ‘332 PATENTS3

 Term                                         Defendants’ Proposed          Depomed’s Proposed
            Claim Language
 Nos.4                                            Construction                 Construction
  32,
  37,                                      “providing [of a drug
  38, administration5                      substance] to the body of a
  39,                                      patient or mammal”
  49
                                           “wherein the dosage form
          wherein the dosage form
                                           provides to the body of the
          provides administration of at
                                           mammal at least 80 wt% of
     33   least 80 wt% of the gabapentin                                  Plain and ordinary
                                           the gabapentin to be delivered
          to be delivered over a period                                   meaning; does not
                                           over a period of about 5-12
          of about 5-12 hours                                             require construction
                                           hours”
                                           “wherein the providing [of the
          wherein the administering
                                           drug substance] to the body of
          achieves a reduced incidence
                                           the mammal achieves a
          of side effects to the central
     34                                    reduced incidence of side
          nervous system, relative to a
                                           effects to the central nervous
          non-gastric retained dosage
                                           system, relative to a non-
          form
                                           gastric retained dosage form”

          The Parties’ dispute centers on whether or not “administration” and “administering”

 require that the drug-containing dosage form be provided to the body of a patient or mammal.6

 (Lowman Decl. ¶ 16.)

          The context of the claims provides compelling evidence that “administration” and


 3
  These disputed claims terms can be found in: claims 17-19, 23, 25, 26, 30, 32-35, 39-43, 45,
 49, 50, 52, 53, 55, 56, 59 and 61-63 of the ‘927 patent; claims 1-7, 10-15, 19 and 20 of the ‘989
 patent; claims 1-12, 15 and 16 of the ‘756 patent; and claim 19 of the ‘332 patent.
 4
  “Term Nos.” are from the Joint Claim Construction and Prehearing Statement, ECF No. 128-1,
 Ex. B. (Ex. 21 at Ex. B.)
 5
  For Term Nos. 37-39 and 49, the term “administration” is contained in a longer claim term.
 For brevity, Defendants have only included the disputed term in this table.
 6
   Defendants’ proposed constructions for term nos. 33 and 34 refer only to a “mammal” because
 the relevant claims refer specifically to a “mammal.” The differences in the proposed
 constructions for Term Nos. 33 and 34, however, do not present substantially different issues
 from Term Nos. 32, 37-39 and 49.



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 “administering”7 require that the claimed dosage form be provided to the body of a patient or

 mammal. Some claims explicitly state that the drug is administered to a mammal. (See, e.g.,

 ‘927 patent, 12:37-42, 13:25-30; Lowman Decl. ¶ 17.) Even in claims that do not explicitly state

 that the dosage form is administered to a patient or mammal, providing it to the body of a patient

 or mammal, e.g., swallowing the dosage form, is clear from the remainder of the context.

 (Lowman Decl. ¶¶ 17-18.)

          For example:

             Asserted claims of the ‘989 patent recite a polymer matrix that swells “to
              increase its size to promote gastric retention of the dosage form in a
              stomach in a fed mode.” (See, e.g., ‘989 patent, 12:9-18.) The reference
              to a “stomach” obviously requires the dosage form to be introduced into
              the body of a patient or mammal.

             Independent claim 6 of the ‘756 patent is similarly directed to a “method
              of treating a condition responsive to a therapeutic dose of gabapentin,”
              which only makes sense if the gabapentin is provided to a patient or
              mammal. (‘756 patent, 13:14-15.)

             Independent claims 1, 6 and 15 of the ‘756 patent also each use the term
              “administration” in connection with “once-daily or twice daily ingestion
              of the dosage form,” (id. at 12:58-59, 13:25-26, 14:26-27), again
              confirming that the term means that the “administration” involves a patient
              or mammal being provided with the dosage form.

             Claim 19 of the ‘332 patent depends from claim 1, which refers to
              ingestion of the dosage form and recites particular differences in the
              maximum plasma concentrations of drug in the body, which again
              implicitly calls for a patient or mammalian subject to which the dosage
              form is provided. (See ‘332 patent, 12:12-22, 13:11-13.)

 (Id.) Thus, the context of the claims makes clear that “administration” and “administering”

 means “providing [of the drug substance] to the body of a patient or mammal.” See Phillips, 415

 F.3d at 1314 (“the context in which a term is used in the asserted claim can be highly


 7
     And related terms, such as “administered.”



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 instructive”).

         The specification similarly describes “administration” and “administering” as providing

 the drug substance to the body of a patient or mammal. (Lowman Decl. ¶ 19.) For example, the

 specification states:

            “administering . . . gabapentin . . . in a gastric retained dosage form to a
             mammal” and “administering a therapeutically effective amount of
             gabapentin to a patient in need thereof” (‘927 patent, 1:60-67 (emphasis
             added));

            “[f]or purposes of facilitating patient compliance, administration of any of
             the aforementioned additional agents at the same time is preferred” (id. at
             5:46-48 (emphasis added)); and

            “gastric retained dosage form of gabapentin is an extended release oral
             drug dosage form for releasing gabapentin into the stomach, duodenum
             and small intestine of a patient.” (Id. at 6:50-53 (emphasis added).)

 The specification thus repeatedly states that the claimed dosage form is to be provided to a

 patient or a mammal. This makes sense – the claimed subject matter is a pharmaceutical dosage

 form, which only has utility when provided to the body of patients or mammals. (Lowman

 Decl. ¶ 19.)

         Where the specification does not specifically refer to patients or mammals, the context

 makes clear that the dosage form is being provided to patients or mammals. (Lowman

 Decl. ¶ 20.) As with the claims, the specification states that the drug should be administered

 “with the morning or evening meals” (‘927 patent, 5:19-26), and that the dosage form can be

 administered to treat various conditions or disease states. (Id. at 2:30-44, 2:50-62, 4:46-63.)

 Again, these concepts only make sense in the context of providing the dosage form to the body

 of a patient or mammal – as the specification explicitly acknowledges with respect to treating

 conditions or disease states. (Id. at 2:34-36 (“‘treating’ covers treating the specified disease in a

 mammal, particularly a human”); Lowman Decl. ¶ 20.)



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          The relevant prosecution history of the ‘927 patent family further confirms that the

 patentee used the terms to refer to providing of the dosage form or drug substance to a patient or

 mammal. (See, e.g., Ex. 13 at 8 (patentee argued that “[t]he ordinarily skilled artisan readily

 understands that the term Cmax refers to the maximum plasma concentration of an administered

 drug”) (emphasis added); Lowman Decl. ¶ 21.)

          By asserting that no construction is needed, Depomed would leave the metes and bounds

 of the claim unclear if the dosage form need not be administered to the body of a patient or

 mammal so that the drug gets into the body’s bloodstream. See Tyco Healthcare Grp. LP v. Mut.

 Pharm. Co., No. 07-1299, 2009 WL 44745, at *4 (D.N.J. Jan. 5, 2009) (declining to adopt

 plaintiff’s construction because “it would replace clarity with ambiguity, defeating the purpose

 of claim construction”). Depomed’s proposed construction should thus be rejected.

 3.       “REMAINS SUBSTANTIALLY INTACT” IN THE ‘475 AND ‘280 PATENTS8

 Term                                  Defendants’ Proposed                 Depomed’s Proposed
            Claim Language
  No.                                        Construction                      Construction
                                   “remains substantially intact”
                                                                        A polymeric matrix in which
                                   means “a polymeric matrix in
                                                                        the polymer portion
                                   which the polymer portion
                                                                        substantially retains its size
                                   substantially retains its size and
          and that remains                                              and shape without
     19                            shape after ingestion without
          substantially intact                                          deterioration due to becoming
                                   deterioration due to becoming
                                                                        solubilized in the gastric fluid
                                   solubilized in the gastric fluid
                                                                        or due to breakage into
                                   or due to breakage into
                                                                        fragments or small pieces
                                   fragments or small particles”

          The two differences between the Parties’ constructions are indicated in italics in the

 above table.




 8
  This disputed claim term is found in claims 1, 8-15, 61 and 62 of the ‘475 patent and claims 1,
 8-15, 45 and 46 of the ‘280 patent.



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          A.      “After Ingestion”

        One of the primary goals of the ‘475 and ‘280 patents is to “extend the time of delivery

 into the stomach of drugs.” (‘475 patent, 1:18-19; Lowman Decl. ¶ 24.) That the claimed

 dosage form remains “substantially intact” after ingestion is an important aspect to satisfying this

 goal. The specification explains that when the stomach is in the fed mode:

        Contractions of the stomach result in a sieving process that allows liquids and
        small particles to pass through a partially open pylorus. Indigestible particles
        greater than the size of the pylorus are retropelled and retained in the stomach.
        Particles exceeding about 1 cm in size are thus retained in the stomach for
        approximately 4 to 6 hours. The dosage form of the present invention is designed
        to achieve the minimal size through swelling following ingestion during the fed
        mode.

 (‘475 patent, 11:53-12:4.) According to the specification, a dosage form that does not remain

 substantially intact after ingestion would not meet the 1 cm size necessary to be retained in the

 stomach. (Lowman Decl. ¶ 24.)

        To ensure that the dosage form is gastric retained, the specification explains that the

 matrix is “solid prior to administration and, once administered, remains undissolved in (i.e., is

 not eroded by) the gastric fluid for a period of time sufficient to permit the majority of the drug

 to be released by the solution diffusion process during the fed mode.” (‘475 patent, 6:9-14.)

 Thus, the specification explains that, if the dosage form dissolves in or is eroded by the gastric

 fluid, it will not remain in the stomach long enough to have the drug released in the stomach in

 the fed mode. (Lowman Decl. ¶ 25.)

        It is against this backdrop that the patentee explained what it meant by “substantially

 intact” in the specification of the ‘475 patent:

        In all cases . . . the drug will be substantially all released from the matrix within
        about ten hours, and preferably within about eight hours, after ingestion, and the
        polymeric matrix will remain substantially intact until all of the drug is released.
        The term “substantially intact” is used herein to denote a polymeric matrix in
        which the polymer portion substantially retains its size and shape without


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        deterioration due to becoming solubilized in the gastric fluid or due to breakage
        into fragments or small particles.

 (See ‘475 patent, 9:32-41 (emphasis added).) Taken in context, this passage underscores that the

 polymeric matrix must retain its size and shape after ingestion of the dosage form. (Lowman

 Decl. ¶ 26.) Otherwise, remaining substantially intact serves no purpose. The mere fact that the

 dosage form is intact before ingestion does nothing to ensure that it is retained in the stomach of

 the mammal or patient. (Id.) It is only when it is intact and swollen after ingestion that the

 claimed dosage form is purportedly retained in the stomach to extend the time period over which

 the drug is released. See Trading Techs. Int’l, Inc. v. ESpeed, Inc., 595 F.3d 1340, 1353-54

 (Fed. Cir. 2010) (affirmed claim construction that adopted definition from specification but

 added the word “manual” because specification “strongly suggest[ed]” requirement of manual

 input, and allowing automatic changes to input would defy invention’s goal).

         B.      “Particles”

        The Parties’ proposed constructions also differ with respect to the use of the word

 “particles” by Defendants and “pieces” by Depomed. “Particles” is the term the patentee

 specifically chose when it explained what is meant by a polymeric matrix that remains

 “substantially intact.” (‘475 patent, 9:36-41.) “Pieces,” on the other hand, is not found

 anywhere in the specification or claims. There is no principled reason to replace a word

 specifically used by the patentee with a different word that has no support anywhere in the

 intrinsic evidence. (Lowman Decl. ¶¶ 27-28.)




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 4.       “DIMENSIONALLY UNRESTRICTED” AND “DIMENSIONALLY
          UNRESTRAINED” IN THE ‘280, ‘962, ‘927, ‘989 AND ‘756 PATENTS9

 Term                                   Defendants’ Proposed             Depomed’s Proposed
                Claim Language
  No.                                       Construction                    Construction
          said dosage form being
                                     “said dosage form being one     Adopt Judge Pisano’s
          one that when swollen in
                                     that upon imbibition of water   construction in Depomed Inc.
          a dimensionally
      8                              swells in a physically          et al. v. Sun Pharma Global
          unrestricted manner as a
                                     unlimited manner in all         FZE, et al., No. 3:11-cv-
          result of imbibition of
                                     dimensions”                     03553-JAP-TJB
          water
          said matrix being one      “said matrix being one that     Adopt Judge Pisano’s
          that swells in an          swells in a physically          construction in Depomed Inc.
      9   unrestricted manner        unlimited manner along the      et al. v. Sun Pharma Global
          along both such axes       two orthogonal axes upon        FZE, et al., No. 3:11-cv-
          upon imbibition of water   imbibition of water”            03553-JAP-TJB
          swells in a                                                Adopt Judge Pisano’s
          dimensionally                                              construction for “when
     10
          unrestrained manner by     “swells in a physically         swollen in a dimensionally
          imbibing water             unlimited manner in all         unrestrained manner as a
                                     dimensions upon imbibition      result of imbibition of water”
          swells unrestrained
                                     of water”                       in Depomed Inc. et al. v. Sun
     11   dimensionally by
                                                                     Pharma Global FZE, et al.,
          imbibing water
                                                                     No. 3:11-cv-03553-JAP-TJB

          The principal dispute appears to be whether the Court should adopt the incomplete prior

 construction that was agreed upon by the parties in the Sun case, which construction renders the

 “dimensionally unrestricted” claim limitation meaningless.

           A.      Judge Hamilton’s Incomplete
                   Construction Renders the Claim Term Meaningless

          A longer phrase containing the term “dimensionally unrestricted” was construed by

 Judge Hamilton in the Lupin case. The Lupin construction was subsequently adopted by

 agreement of the parties in the Sun case. (Ex. 15 at 15.) In the Lupin case, the court construed


 9
   These disputed claim terms are found in claims: 1, 8-15, 45 and 46 of the ‘280 patent;
 claims 1, 2 and 5-16 of the ‘962 patent; claims 17-19, 23, 25, 26, 30, 32-35, 39-43, 45, 50, 53,
 52, 55, 56, 59 and 61-63 of the ‘927 patent; claims 1-7, 10-15, 19 and 20 of the ‘989 patent; and
 claims 1-12, 15 and 16 of the ‘756 patent.



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 “said polymeric matrix being one that swells upon imbibition of water thereby attaining a size

 large enough to promote retention in the stomach during said fed mode” in the ‘475 patent and

 “said dosage form being one that when swollen in a dimensionally unrestricted manner as a

 result of imbibition of water is of a size exceeding the pyloric diameter in the fed mode to

 promote retention in the stomach during the fed mode” in the ‘280 patent. (Ex. 14 at 12, ll. 7-15

 (emphasis added).) Because the parties in both the Lupin and Sun cases agreed that the terms

 should have the same meaning, both of these phrases were given the same meaning even though

 they contain different language.

        The prior construction of the phrase, however, omits the “swollen in a dimensionally

 unrestricted manner” limitation in claim 1 of the ‘280 patent. Judge Hamilton noted that this

 phrase was a significant difference between the disputed claim terms in the ‘280 and

 ‘475 patents, stating:

        However, Claim 1 of the ‘280 patent (the claim where the word ‘unrestricted’
        appears) refers to the dosage form being swollen in a ‘dimensionally
        unrestricted’ manner. It is not the swelling itself that is unrestricted, but the
        swelling of the dimensions of the dosage form – that is, length, the width, or
        other dimension of the dosage form – based on the swelling characteristics of
        the selected polymer.

 (Ex. 14 at 10, ll. 1-7.) She went on to acknowledge that “[b]ecause Claim 1 of the ‘280 patent

 contains the express language ‘when swollen in a dimensionally unrestricted manner,’ the dosage

 form in Claim 1 of the ‘280 patent must be in a state where it has swollen in all dimensions.”

 (Id at 10, ll. 20-22.) This difference, however, did not find its way into the adopted construction.

        Defendants’ proposed construction follows Judge Hamilton’s claim constructions from

 the Lupin case and further includes her remarks concerning “dimensionally unrestricted

 manner,” which ensures that all claim terms are given meaning. Bicon, 441 F.3d at 950-51

 (“[C]laims are interpreted with an eye toward giving effect to all terms in the claim,” and



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 adopting a construction that reads a limitation out of the claim is “contrary to the principle that

 claim language should not [be] treated as meaningless”).

          B.     Defendants’ Proposed Construction is Supported by
                 the Intrinsic Evidence and, in Particular, the Prosecution History

        Defendants’ proposed construction is also supported by the intrinsic evidence. Each of

 the asserted patents discloses dosage forms that swell in a dimensionally unrestricted manner.

 (See, e.g., ‘280 patent, 7:54-57 (“The water-swellable polymer forming the matrix in accordance

 with this invention is any polymer . . . that swells in a dimensionally unrestricted manner.”);

 ‘962 patent, 4:48-51 (“Water-swellable polymers useful in the preparation of the dosage form of

 this invention include polymers . . . that swell in a dimensionally unrestricted manner upon

 imbibition of water and hence of gastric fluid.”); ‘927 patent, 6:50-59; Lowman Decl. ¶ 31.) The

 matrix swells in a physically unlimited manner along both orthogonal axes so that the matrix is

 allowed to expand in each direction. (See, e.g., ‘962 patent, 4:22-47; Lowman Decl. ¶ 31.) The

 specifications disclose that swelling in all directions without physical restriction enables the

 dosage form to expand so that it does not escape the stomach through the pylorus. (See generally

 ‘962 patent, 3:22-41; ‘280 patent, 12:3-5; ‘927 patent, 6:56-59.) Physical limitations in any

 dimension on such swelling would thus be contrary to the specification’s stated goal of ensuring

 gastric retention of the dosage form. (Lowman Decl. ¶ 31.)

        The prosecution histories of the relevant patents also make clear that the patentee

 believed that its dosage form must be able to swell without physical limitation in any dimension.

 During the prosecution of the ‘962 patent, for example, the Examiner rejected the claims as

 anticipated by and/or obvious in view of U.S. Patent No. 6,120,803 (“Wong”) (Ex. 17). (See

 Ex. 16a at 2, 4; Lowman Decl. ¶ 32.) Wong described a dosage form that had a band around it

 that restricted swelling in certain dimensions as illustrated in the following image:



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                                                     Figure 2 from Wongg:

                                                     This figurre illustrates the
                                                     swollen W Wong dosagee form
                                                     with a bannd (labeled nnumber
                                                     15 and shhaded red) thhat
                                                     restricts sw
                                                                welling in ceertain
                                                     directionss. (See geneerally Ex.
                                                     17, 11:30--12:8 and 144:15-46
                                                     (Wong) (rred shading added).)

       n Decl. ¶ 32.)
 (Lowman

        T patentee argued that the claimed subject mattter was distiinguishable ffrom Wong
        The

 because, among otheer things:

        a critical featuure of the prresent inventtion is that thhe tablet muust be alloweed to
        swwell in all diirections, and particularlly in the lateeral directionn (i.e., along its
        shhorter dimen nsion) so thaat it can no lo
                                                  onger slip thhrough the pyylorus even if the
        taablet happenns to be oriennted in alignmment with thhe pyloric axxis.

 (Ex. 16b at 2 (emphaasis in origin
                                  nal); Lowman
                                             n Decl. ¶ 33 .)

        The
        T patentee more speciffically explaiined the diffferences betw
                                                                     ween Wong and the claim
                                                                                           ms in

 a later am
          mendment:

        Wong
        W        et al. address
                        a        the problem of ho   ow to prolonng the retenttion of a sweellable
        taablet in the stomach
                        s         by incorporating  g a rigid, connstraining ssecondary m matrix into
        th
         he structure of o the tablet.. On the oth her hand, thee Applicants rely solely oon the
        unrestricted swelling
                         s         of a monolithicc polymer m    matrix to mainntain the tabblet in the
        sttomach for prolonged
                        p           peeriods of tim
                                                  me . . . Appliccants’ tablet is free to sw
                                                                                           well in an
        unnrestricted manner,
                        m         wheereas the tabllet of the Woong et al. dissclosure is
        coonstrained so  o that swellaability of thee tablet is lim
                                                                  mited.

        . . . The dimensionally un  nrestricted swelling
                                                  s        of thhe tablet whhich occurs wwhen the
        taablet contactts the aqueouus environment of the stoomach is ressponsible forr
        reetention of th
                       he tablet in the
                                    t stomach. The dimen       nsionally unrestricted sw welling of
        th
         he tablet creaates in an en              oo large to eescape the coonfines of the
                                   ntity that is to
        sttomach by sllipping throu ugh the pylo oric sphincterr, and thus, pprovides thee
        mechanism
        m             by which the tablet is retaained withinn the stomachh. Hence,
        unnrestricted swellability
                      s             is
                                    i essential tot the Appliccants’ inventtion.

 (Ex. 16c at 3-4 (emph
                     hasis in orig
                                 ginal); Lowm
                                            man Decl. ¶ 334.)



                                                      13
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        The patentee further explained that “the concept of constrained swelling which is the

 basis for creation of [the Wong] tablet is diametrically opposed to the concept of dimensionally

 unrestricted swelling which is the basis for the creation of the Applicants’ invention.”

 (Ex. 16c at 5 (emphasis in original); Lowman Decl. ¶ 34.) Based on the arguments made during

 prosecution, physically unrestricted swelling should be incorporated into the construction of

 these claim terms. See Phillips, 415 F.3d at 1317 (“the prosecution history can often inform the

 meaning of the claim language by demonstrating how the inventor understood the invention and

 whether the inventor limited the invention in the course of prosecution, making the claim scope

 narrower than it would otherwise be”).

        Similarly, during the prosecution of the ‘927 patent, the patentee contrasted a prior art

 dosage form disclosed in U.S. Patent No. 5,906,832 (“Jao”) with the claimed dosage form.

 (Lowman Decl. ¶ 35.) The patentee argued that the prior art utilizes “a hard outer capsule for

 retaining the original shape of the dosage form,” and thus “maintains its integrity during transit

 in the GI tract,” whereas the claimed dosage forms “swell[] in a dimensionally unrestrained

 manner to achieve retention in the stomach, for release of drug in the stomach.” (Ex. 12b at 19

 (emphasis added); Lowman Decl. ¶ 35.)

        This argument was later reiterated by the patentee during prosecution of the ‘756 patent:

 “the dosage form of Jao retains its external shape during transit through the GI tract, and is not

 designed to swell, and moreover to swell unrestrained dimensionally, to achieve an increase in

 size which promotes gastric retention.” (Ex. 13 at 10 (emphasis added); Lowman Decl. ¶ 36.)

 Thus, the patentee has repeatedly made clear that its claimed dosage forms cannot have any

 physical restraint in the ability to swell. Defendants’ proposed construction reflects the

 patentee’s clear and repeated statements to this effect. (See Lowman Decl. ¶¶ 32-36.)




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           Depomed argues that the Court should adopt the prior construction to which the parties

 stipulated in the Sun case based on Judge Hamilton’s claim construction in the Lupin case. As

 explained above, however, the construction improperly reads out the “dimensionally

 unrestricted” and “dimensionally unrestrained” swelling language of asserted claims of the

 ‘280, ‘962, ‘927 and ‘989 patents. See Bicon, 441 F.3d at 951. And, Defendants’ proposed

 construction more fully captures Judge Hamilton’s opinions, including Judge Hamilton’s

 observation that the claimed dosage form must be in a state where it has swollen in all

 dimensions. (See Ex. 14 at 10, ll. 1-7, 20-24.) Depomed’s proposed construction should thus be

 rejected.

 5.        “GASTRIC RETENTION” AND “RETENTION IN THE
           STOMACH” IN THE ‘475, ‘280, ‘927, ‘989 AND ‘756 PATENTS10

 Term                                       Defendants’ Proposed            Depomed’s Proposed
               Claim Language
  No.                                           Construction                   Construction
                                      “contained in a dosage form that
                                      allows for extended release of
                                                                          Plain and ordinary
             Dispersed in a gastric   drug substance in the stomach
      4                                                                   meaning; does not require
             retained dosage form     for the duration of drug delivery
                                                                          construction
                                      independent of the intake of
                                      food”
                                      “such that when the dosage form
             thereby attaining a                                          Adopt Judge Pisano’s
                                      is introduced into the stomach in
             size large enough to                                         construction in Depomed
                                      the fed mode, it attains a size
      12     promote retention in                                         Inc. et al. v. Sun Pharma
                                      such that the dosage form
             the stomach during                                           Global FZE, et al., No.
                                      remains in the stomach for the
             said fed mode                                                3:11-cv-03553-JAP-TJB
                                      duration of drug delivery”




 10
    These disputed claim terms are found in: claims 1, 8-15, 61 and 62 of the ‘475 patent; claims
 1, 8-15, 45 and 46 of the ‘280 patent; claims 17-19, 23, 25, 26, 30, 32-35, 39-43, 45, 50, 52, 53,
 55, 56, 59 and 61-63 of the ‘927 patent; claims 1-7, 10-15, 19 and 20 of the ‘989 patent; and
 claims 1-12, 15 and 16 of the ‘756 patent.



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 Term                                       Defendants’ Proposed             Depomed’s Proposed
                 Claim Language
  No.                                            Construction                   Construction
                                      “is of a size exceeding the
            is of a size exceeding
                                      pyloric diameter in the fed mode    Adopt Judge Pisano’s
            the pyloric [diameter
                                      such that when the dosage form      construction in Depomed
            in the fed mode to
      13                              is introduced into the stomach in   Inc. et al. v. Sun Pharma
            promote retention in
                                      the fed mode, the dosage form       Global FZE, et al., No.
            the stomach during
                                      remains in the stomach for the      3:11-cv-03553-JAP-TJB
            said fed mode]11
                                      duration of drug delivery”
                                                                          Adopt Judge Pisano’s
                                    “to increase in size to allow for     construction for “attaining
            to increase its size to
                                    extended release of drug              a size large enough to
            promote gastric
                                    substance in the stomach of a         promote retention in the
      14    retention of the dosage
                                    mammal for the duration of drug       stomach” in Depomed Inc.
            form in the stomach of
                                    delivery independent of the           et al. v. Sun Pharma Global
            the mammal
                                    intake of food”                       FZE, et al., No. 3:11-cv-
                                                                          03553-JAP-TJB
            increase its size to
            promote gastric
                                      “is of a size exceeding the
      15    retention of the dosage
                                      pyloric diameter in the fed mode    Adopt Judge Pisano’s
            form in a stomach in a
                                      such that when the dosage form      construction in Depomed
            fed mode
                                      is introduced into the stomach in   Inc. et al. v. Sun Pharma
            to increase its size to
                                      the fed mode, the dosage form       Global FZE, et al., No.
            promote gastric
                                      remains in the stomach for the      3:11-cv-03553-JAP-TJB
      16    retention of the dosage
                                      duration of drug delivery”
            form in the stomach in
            a fed mode

           There are two issues for the Court to resolve. First, Defendants seek clarification that the

 swollen dosage form must be retained in the stomach for the duration of drug delivery. (See

 Lowman Decl. ¶ 40.) Second, relative to claim terms 4 and 14, Defendants seek clarification that

 the retention in the stomach is not tied to induction of the fed mode. (See id.)

            A.      Duration of Gastric Retention

           There is no dispute between the Parties that, when swollen in the stomach, the claimed

 dosage form must be retained in the stomach for some period of time. The dispute between the


 11
   The Joint Claim Construction and Prehearing Statement includes a typographical error
 omitting the bracketed text.



                                                    16
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 Parties is the duration for which the swollen dosage form must be retained in the stomach.

        Judge Hamilton previously construed the longer phrases “said polymeric matrix being

 one that swells upon imbibition of water thereby attaining a size large enough to promote

 retention in the stomach during said fed mode” and “said dosage form being one that when

 swollen in a dimensionally unrestricted manner as a result of imbibition of water is of a size

 exceeding the pyloric diameter in the fed mode to promote retention in the stomach during the

 fed mode” to mean “the dosage form, which comprises a polymeric matrix, increases in size due

 to the ingress of water, such that when the dosage form is introduced into the stomach in the fed

 mode, the dosage form remains in the stomach for several hours.” (Ex. 14 at 12, ll. 7-15;

 Lowman Decl. ¶ 41.) The parties in the Sun case stipulated to the Lupin construction, and it was

 adopted by the Court. (Ex. 15 at 15 (citing Markman Hearing Tr. 40:6-15).) Although Judge

 Hamilton construed the phrase to require that the claimed dosage form remain in the stomach

 “for several hours,” there is no explanation of the basis for this part of the construction in Judge

 Hamilton’s opinion. In fact, neither the Lupin parties nor the Sun parties submitted any briefing

 or arguments to the court regarding this specific issue. (See generally Exs. 23 & 24.) “Several

 hours” is vague (Lowman Decl. ¶ 41) and fails to provide reasonable guidance to a fact finder as

 to the duration for which the swollen dosage form must be retained in the stomach. See U.S.

 Surgical, 103 F.3d at 1568. As such, further construction of this claim term is required.

        The purpose of the alleged invention is to have the drug released in the stomach over a

 prolonged period of time. (Lowman Decl. ¶ 42.) For example, the specification of the

 ‘475 patent family states that the alleged invention:

        is in the general field of pharmacology, and relates in particular to formulations
        for drugs that benefit from a prolonged time of controlled release in the stomach
        and upper gastrointestinal (GI) tract, and from an enhanced opportunity of
        absorption in the stomach and upper GI tract rather than the lower portions of the



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        GI tract.

 (‘475 patent, 1:11-17.) For drugs that are known to have an absorption window high in the GI

 tract, for example, the claimed dosage form and delivery system is said to maximize the

 absorption of such drugs by “confining drug delivery to the stomach.” (Id. at 3:37-41.)

        The specification further explains:

        For drugs of any level of solubility, the retention of the drug in a tablet or other
        dosage form beyond the duration of the fed mode raises a number of problems
        that detract from the therapeutic efficacy of the drug. These problems arise from
        the tendency of the tablet when the patient is no longer in the fed mode to pass
        from the stomach into the small intestine, and over a period of 2-4 hours to pass
        through the small intestine, thus reaching the colon with the drug still in the tablet.
        This loss of effectiveness occurs with drugs that provide their maximum benefit
        with minimum side effects when absorbed in the stomach and upper GI tract
        rather than the colon. The reasons are either favorable conditions in the stomach,
        unfavorable conditions in the colon, or both.

 (Id. at 2:21-33 (emphasis added).) Thus, the specification explains that it is problematic from a

 therapeutic perspective for drug to remain in the dosage form after it leaves the stomach.

 (Lowman Decl. ¶ 43.) Furthermore, if a dosage form escapes from the stomach, there is no

 further opportunity to prevent it from passing into the colon while still containing drug, which

 the specification says raises a number of problems. (See ‘475 patent, 2:21-33.)

        To overcome these problems, the specification states:

        For highly soluble drugs, the swelling of the polymeric matrix thus achieves two
        objectives – (i) the tablet swells to a size large enough to cause it to be retained in
        the stomach during the fed mode, and (ii) it retards the rate of diffusion of the
        highly soluble drug long enough to provide multi-hour, controlled delivery of the
        drug into the stomach. For [other] drugs . . ., the swelling of the polymeric matrix
        (i) renders the matrix sufficiently large to cause retention in the stomach during
        the fed mode, and (ii) localizes the release of the drug to the stomach and small
        intestine . . . .

 (‘475 patent, 6:18-32.)

        In fact, the claimed dosage forms are designed to resist being expelled from the stomach.




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 (See, e.g., id. at 9:1-21 (explaining that the drug matrices are designed to “promote[] their

 retention in the stomach”), 11:63-12:4 (explaining that the dosage form is designed to swell to a

 size to remain in the stomach).) These design features to keep the claimed dosage form in the

 stomach make sense in view of the problems that the patentee stated it was trying to overcome –

 i.e., having drug-containing dosage forms travel into the colon. (Lowman Decl. ¶ 45.)

        The disclosure provided in the ‘927 patent family further confirms that the gastric

 retained dosage form must remain in the stomach for the duration of drug delivery to allow the

 drug to be absorbed adequately in the preferred region of absorption. The ‘927 patent family

 disclosure provides that “the gastric retained dosage form is particularly beneficial for delivery

 of gabapentin due to its prolonged transit in the upper gastrointestinal tract, which allows the

 drug to be absorbed adequately in the preferred region of absorption.” (‘927 patent, 2:16-20.)

        The prosecution history of the ‘927 patent further supports Defendants’ proposed

 construction. (See Lowman Decl. ¶ 47.) When faced with an objection that the claims were

 obvious over the prior art, the patentee argued that the claims were distinguishable over the prior

 art because, unlike the prior art dosage form, the claimed dosage form “swells on its exterior

 when exposed to water in the stomach[, which] increases retention of the dosage form in the

 stomach for the duration of drug delivery.” (Ex. 12a at 15 (emphasis added).) Thus, consistent

 with the specification, the patentee clearly stated that the dosage form must be retained in the

 stomach for the duration of drug delivery. (Lowman Decl. ¶ 47.) Defendants’ proposed

 construction is thus supported by the intrinsic evidence.

        Depomed, on the other hand, asks the Court to leave the construction of the term vague

 by adopting the prior construction’s language of “several hours.” This vague construction is

 contrary to the purpose of claim construction, which is to provide clarity. U.S. Surgical, 103




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 F.3d at 1568. Such a construction will only invite further disputes as to the number of hours that

 are sufficient to meet the “several hours” requirement. On the other hand, there is a more

 specific construction that is supported by the intrinsic evidence as described above that provides

 a clear guidepost to the factfinder. Depomed’s proposed constructions should be rejected.

        Furthermore, Depomed argues that “gastric retained” (claim term no. 4) does not need

 construction. In view of the Parties’ dispute concerning the other related terms “gastric

 retention” and “retention in the stomach,” however, “gastric retained” should be similarly

 construed in order to avoid ambiguity and prevent further disputes. See U.S. Surgical, 103 F.3d

 at 1568. Depomed’s proposal to refrain from construing claim term no. 4 should be rejected.

          B.      Retention in the Stomach Is Independent of the Fed Mode

        Claim term nos. 4 and 14 are semantically different from claim term nos. 12, 13, 15 and

 16 with respect to the “fed mode” being induced. With respect to the asserted ‘927 patent claims

 (claim term nos. 4 and 14), the claims require the step of “administering . . . gabapentin . . .

 dispersed in a gastric retained dosage form to the mammal in which a fed mode has been

 induced.” (‘927 patent, 12:38-43 (emphasis added).) The syntax of this sentence makes clear

 that gastric retention of the dosage form is independent of induction of the fed mode. In contrast,

 the claims of the ‘475, ‘280, ‘989 and ‘756 patents (claim term nos. 12, 13, 15, 16) each require

 gastric retention of the claimed dosage form “during the fed mode” or “in . . . a fed mode,”

 which makes clear that the gastric retention is dependent on the fed mode being first induced.

 Because of this difference in claim language, Defendants’ proposed construction of claim term

 nos. 4 and 14 clarify that the retention of the swollen dosage form in the stomach is independent

 of the consumption of food, which would trigger the fed mode. (See ‘475 patent, 11:53-54 (“The

 postprandial or fed mode is induced by food ingestion . . . .”); Lowman Decl. ¶ 48.) See Kara




                                                   20
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 Tech. Inc. v. Stamps.com Inc., 582 F.3d 1341, 1347 (Fed. Cir. 2009) (each claim in a patent

 family is presumed to be of different scope).

        Consistent with this, the specification of the ‘927 patent family refers to certain dosage

 forms as gastric retained dosages, and these dosages do not require administration during the fed

 mode. (See, e.g., ‘927 patent, 5:52-57 (multi-layer tablet with a band)12; Lowman Decl. ¶ 49.)

 Thus, the specification describes that the claimed dosage form can be retained in the stomach

 independent of the fed mode first being induced. (Lowman Decl. ¶ 49.)

        The prosecution history also supports this construction. (Lowman Decl. ¶ 50.) When

 faced with an obviousness objection over the prior art, the patentee added “in which a fed mode

 has been induced” to the claim limitation reciting “a gastric retained dosage form” to

 differentiate the claimed dosage form. (Ex. 12b at 4.) Adding the “fed mode” reference in the

 claim would not have been necessary if “gastric retained dosage form” was understood to always

 refer to a dosage form administered in the fed mode.13 Thus, the prosecution history also

 demonstrates that the ability of the claimed dosage form to be gastric retained is independent

 from the consumption of food. (Lowman Decl. ¶ 50.)

        Depomed argues that the Court should adopt the prior construction of “attaining a size

 large enough to promote retention in the stomach” from the Sun case. The Court did not,

 however, construe a term “attaining a size large enough to promote retention in the stomach” in

 the Sun case, and neither did Judge Hamilton in the Lupin case. (See generally Exs. 14 & 15.)


 12
   The referenced patent indicates that the claimed invention purports to satisfy the goal of
 providing a sustained delivery device that is “able to remain in the stomach, even during a
 fasting state in which IMMC is present, for a prolonged period.” (Ex. 17, 4:55-5:9.)
 13
   Applicant remarked that the “fed mode is irrelevant with respect to swelling the dosage form.”
 Rather, “[i]n fed mode, the pylorus closes, allowing more time for the dosage form to swell and
 adhere in the stomach.” (Ex. 12a at 16.)



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 The only terms at issue contained the phrase “during the fed mode” at the end of the phrase.14

 (Ex. 15 at 15; Ex. 14 at 7, ll. 7-13.) Depomed’s proposed construction should thus be rejected.

 6.        “GAS GENERATING AGENT” IN THE ‘927 PATENT15

 Term                                     Defendants’ Proposed               Depomed’s Proposed
               Claim Language
  No.                                          Construction                      Construction
                                       “an agent capable of releasing    Plain and ordinary meaning;
      35    gas generating agent
                                       carbon dioxide or nitrogen”       does not require construction

           The specification of the ‘927 patent discloses a dosage form with a gas generating agent

 as having “one component that expands on contact with gastric juice and contains an agent

 capable of releasing carbon dioxide or nitrogen, gabapentin or a pharmaceutically acceptable salt

 thereof.” (‘927 patent, 6:29-35 (emphasis added).) No gases other than carbon dioxide or

 nitrogen are described in the ‘927 patent. Thus, the patentee made clear that a “gas generating

 agent” is “an agent capable of releasing carbon dioxide or nitrogen.” (Lowman Decl. ¶ 53.)

           The specification of the ‘927 patent cites to and purports to incorporate by reference the

 teachings of U.S. Patent No. 4,996,058 (“the ‘058 patent”) (Ex. 18) for the purpose of further

 describing a “gas generating agent.” (‘927 patent, 5:57-62, 6:29-49, 11:33-38.) Depomed thus

 cannot dispute that the ‘058 patent is part of the relevant intrinsic evidence for the meaning of

 the term. See Cook Biotech Inc. v. Acell, Inc., 460 F.3d 1365, 1375-78 (Fed. Cir. 2006)

 (reversing construction that was contradicted by prior art that was incorporated by reference in

 specification). The dosage form disclosed in the ‘058 patent includes a component that expands

 on contact with body fluid and that contains a substance that generates a “blowing agent,” i.e.,

 gas, “especially carbon dioxide or nitrogen.” (‘058 patent, 2:14-20, 3:26-50.) Suitable

 substances for generating gas are disclosed as those capable of releasing carbon dioxide or

 14
      In fact, the Sun case parties stipulated to adopt the construction from the Lupin case.
 15
      This disputed claim term is found in claims 28 and 43 of the ‘927 patent.



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 nitrogen (see id. at 3:26-50), and each of the three independent claims of the ‘058 patent recites

 an “agent” capable of releasing carbon dioxide (claims 2 and 3) or “carbon dioxide or nitrogen”

 (claim 1). (See id. at 12:62-14:13). As with the ‘927 patent, no gases other than carbon dioxide

 or nitrogen are disclosed. (Lowman Decl. ¶ 54.)

           By disagreeing with Defendants’ proposed construction, Depomed leaves open the

 potential for future disputes over the term. See U.S. Surgical, 103 F.3d at 1568. Depomed’s

 construction should thus be rejected. (See Lowman Decl. ¶¶ 53-55.)

 7.        “BILAYERED OR MULTILAYERED ADHESIVE TABLET” IN THE ‘927 PATENT16

 Term                                      Defendants’ Proposed             Depomed’s Proposed
              Claim Language
  No.                                           Construction                     Construction
           bilayered or              a tablet having only one             Plain and ordinary
      36   multilayered adhesive     gabapentin/polymer matrix layer      meaning; does not require
           tablet                    and one or more additional layers    construction

           Defendants’ construction of “bilayered or multilayered adhesive tablet” is consistent with

 the intrinsic evidence of the ‘927 patent. The term “bilayered or multilayered adhesive tablet”

 appears in claims 30 and 45, which depend from claims 17 and 33, respectively. Both claims 17

 and 33 require a single polymer matrix that contains a swellable polymer that releases gabapentin

 through diffusion. (See ‘927 patent, 12:37-51, 13:16-17, 13:25-39, 14:4-5.) While dependent

 claims 30 and 45 require at least two layers, a person of ordinary skill in the art would

 understand from the claim language “single polymer matrix” that only one of the layers of the

 “bilayered or multilayered adhesive tablet” is the gabapentin/polymer matrix layer. (Lowman

 Decl. ¶ 55.) See Phillips, 415 F.3d at 1313.

           The specification of the ‘927 patent further supports Defendants’ proposed construction.

 (See Lowman Decl. ¶ 57.) For example, where the specification describes a bilayer tablet, it

 16
      This disputed claim term is found in claims 30 and 45 of the ‘927 patent.



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 states that “a bi-layer tablet releases gabapentin to the upper gastrointestinal tract from an active

 containing layer, while the other layer is a swelling or floating layer.” (‘927 patent, 7:6-12.)

 When read through the lens of the claims – which require that the gabapentin is released by

 diffusion through a “single polymer matrix” – the specification clearly indicates that a bilayered

 or multilayered tablet contains a single gabapentin-polymer matrix layer and at least one

 additional layer that is not a gabapentin-polymer matrix layer. (Lowman Decl. ¶ 57.)

        Further, the ‘927 patent explains that details of the embodiment that is a bilayer tablet

 may be found in U.S. Patent No. 5,232,704 (“the ‘704 patent”) (Ex. 19), which the ‘927 patent

 specification purports to incorporate by reference. (See ‘927 patent, 5:52-62, 11:32-38.) Thus,

 the patentee cannot dispute that the ‘704 patent provides relevant description regarding the

 meaning of “bi-layer tablet.” Cook, 460 F.3d at 1375-78. The ‘704 patent discloses a bilayer

 dosage form wherein one layer is a drug release layer containing the drug in a polymer matrix

 and the other layer is a buoyant or floating layer. (See ‘704 patent, Abstract, 2:46-60, 2:65-3:7,

 4:55-63, 22:65-23:19.) The ‘704 patent specification states that, “by designing a bilayer floating

 capsule wherein the optimized buoyancy formulation layer is separated from the drug release

 formulation layer, a greater flexibility of release profile adjustments is obtained.” (Id. at 7:26-

 30.) Consistent with the specification, the ‘704 patent claims make clear that only one layer of

 the dosage form, i.e., the “drug release layer,” contains drug, while the other layer is a “floating

 layer” that provides buoyancy to the bilayer formulation. (See, e.g., id. at 22:65-23:8; Lowman

 Decl. ¶ 58.)

        Finally, the prosecution history of the ‘927 patent supports the Defendants’ proposed

 construction. In overcoming an obviousness objection, the patentee distinguished the prior art,

 arguing that, “[i]n contrast to Shell, Applicant’s claimed dosage form is comprised of a single




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 polymer matrix with drug dispersed therein.” (Ex. 12b at 20-21 (describing Shell as requiring “a

 plurality of solid particles”) (emphasis in original).) These arguments made by the patentee

 support Defendants’ proposed construction. See Vitronics Corp. v. Conceptronic, Inc., 90

 F.3d 1576, 1582-83 (Fed. Cir. 1996) (noting that express representations made during

 prosecution of the patent by the patentee regarding the scope of claims “is often of critical

 significance in determining the meaning of the claims”).

          By disagreeing with Defendants’ proposed construction, yet refusing to propose a

 concrete, alternative construction, Depomed only delays the date on which the Court will have to

 resolve the Parties’ dispute concerning the meaning of this term, and should thus be rejected.

 See U.S. Surgical, 103 F.3d at 1568.

 8.       “DISPERSED IN A SINGLE POLYMER MATRIX” AND
          “DISPERSED IN A SINGLE MATRIX” IN THE ‘927, ‘989 AND ‘756 PATENTS17

 Term                                       Defendants’ Proposed           Depomed’s Proposed
                Claim Language
  No.                                           Construction                   Construction
                                                                         Dispersed in a single
          Dispersed in a single
      5                                                                  medium comprising
          polymer matrix
                                         Plain and ordinary meaning.     polymer
                                                                         Dispersed in a single
      6   Dispersed in a single matrix
                                                                         medium

          Through discussions between the Parties, it has become clear that the Parties’ dispute

 focuses on the meaning of “single” in the claim language. This claim term does not require

 construction because “single” plainly means “only one,” which is consistent with the intrinsic

 evidence.

          The claims of the ‘927, ‘989 and ‘756 patents make clear that the claimed formulations


 17
   These disputed claim terms are found in: claims 17-19, 23, 25-26, 30, 32-35, 39-43, 45, 50,
 52-53, 55-56, 59 and 61-63 of the ‘927 patent; claims 1-7, 10-15, 19 and 20 of the ‘989 patent;
 and claims 1-12 and 15-16 of the ‘756 patent.



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 contain only one polymer matrix that contains, and controls the release of, gabapentin from the

 dosage form.18 (Lowman Decl. ¶ 62.) If the claims were construed otherwise, the word “single”

 in the terms “dispersed in a single polymer matrix” and “dispersed in a single matrix” would

 have no meaning. (See e.g., ‘927 patent, 11:52-65; ‘989 patent, 12:9-12 (emphasis added);

 ‘756 patent, 12:50-53 (emphasis added); Lowman Decl. ¶ 62.) See Bicon, 441 F.3d at 950-51.

 Moreover, the ‘927 patent family specifications disclose dosage forms where gabapentin is

 dispersed in and released from only a single matrix containing polymer. (See e.g., ‘927 patent,

 6:50-7:5; Lowman Decl. ¶ 63.)

         The prosecution history similarly demonstrates that these two claim terms should be

 construed to mean that only a single polymer matrix of the dosage form contains gabapentin.

 (See Lowman Decl. ¶ 64.) During prosecution of the ‘927 patent, claims were rejected as

 obvious in light of the prior art Shell reference, which disclosed controlled-release dosage forms

 containing a drug dispersed within a plurality of particles containing polymer that swelled

 unrestrained dimensionally by imbibing water in order to retain the dosage form in the stomach.

 (Ex. 12d at 8-9; see also Ex. 12e at 5-6.) To overcome this rejection, the patentee amended the

 pending claims to explicitly add the “single polymer matrix” limitation to the claims (Ex. 12b

 at 2, 4, 6, 8) and repeatedly argued that this newly added limitation distinguished the claims from

 the Shell “plurality of particles.”

         For example, the patentee argued:

            “In contrast to Shell, Applicant’s claimed dosage form is comprised of a
             single polymer matrix with drug dispersed therein. A single polymer
             matrix dosage form and a dosage form comprised of a plurality of particles
             are distinct, particularly in their drug delivery profiles after oral

 18
   To be clear, the dosage form may include other matrices having other functions, but
 gabapentin is contained in and released from only one polymer matrix.



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               administration. The skilled artisan would recognize that the surface area
               of a plurality of particles must necessarily be different from the surface
               area of a single polymer matrix, and the release rate of drug from a
               collection of particles is necessarily different from that of a single polymer
               matrix.” (Ex. 12b at 20-21 (emphases in original).)

              “[T]he claimed dosage form comprises ‘a single polymer matrix
               comprising at least one swellable hydrophilic polymer that swells…’. In
               contrast, the dosage form described in Shell is comprised of a plurality of
               polymer particles with drug dispersed therein . . . .” (Ex. 12c at 12
               (emphasis in original).)

              “Shell fails to teach of [sic] suggest a dosage form that consists of a single
               polymer matrix. . . . [I]n Shell the dosage form is comprised of a plurality
               of polymer particles, each particle loaded with a drug.” (Ex. 12b at 21.)

 A patentee cannot narrowly describe its invention to obtain a patent, and then seek to broaden it

 during claim construction. See Springs Window Fashions LP v. Novo Indus., LP, 323 F.3d 989,

 995 (Fed. Cir. 2003) (“The public notice function of a patent and its prosecution history requires

 that a patentee be held to what he declares during the prosecution of his patent.”).

           The plain and ordinary meaning – that gabapentin is contained in and released from only

 a single polymer matrix – is consistent with the intrinsic evidence and should thus be adopted by

 the Court. (See Lowman Decl. ¶¶ 61-65.)

 9.        “TMAX IS AT LEAST 5.6 HOURS” IN THE ‘756 AND ‘332 PATENTS19

 Term                                         Defendants’ Proposed             Depomed’s Proposed
                 Claim Language
  No.                                              Construction                   Construction
           wherein the time to reach       wherein the time to reach
                                                                             Plain and ordinary
           maximum plasma                  maximum plasma
      50                                                                     meaning; does not require
           concentration is at least 5.6   concentration is not less than
                                                                             construction
           hours ±34.9%                    3.6 to 7.6 hours

           Defendants seek clarification that “wherein the time to reach maximum plasma

 concentration is at least 5.6 hours ±34.9%” means the time to reach maximum plasma

 19
   This disputed claim term is found in claims 3 and 8 of the ‘756 patent and claims 2, 8, 13 of
 the ‘332 patent.



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 concentration (Tmax) is between 3.6 hours (5.6 hours – 34.9%) and 7.6 hours (5.6 + 34.9%). Left

 unconstrued, this term could give rise to disputes later in litigation about which times are covered

 by the claims. Moreover, Defendants’ construction is fully supported by the intrinsic evidence,

 which shows a range of Tmax values that are within the range set forth in Defendants’ proposed

 construction for the “GR™” (gastric retained) formulations in the Table in Example 4.

 (‘756 patent, 11:56-12:25; Lowman Decl. ¶ 66.)

           The only plausible explanation for Depomed’s refusal to agree to Defendants’ proposed

 construction of this claim term is that Depomed may try to advance a different plain and ordinary

 meaning at a later date to fit with its theories of the case. Depomed’s attempt to leave this term

 open for later disputes should be rejected. See U.S. Surgical, 103 F.3d at 1568.

 10.       “WITHOUT LOSS IN BIOAVAILABILITY” IN THE ‘756 PATENT20

 Term                                         Defendants’ Revised,             Depomed’s Proposed
                 Claim Language
  No.                                        Proposed Construction                Construction
           without loss in                without any loss in
                                                                             bioavailability as
           bioavailability as measured    bioavailability as measured
                                                                             measured by the area
           by the area under the curve    by the area under the curve
                                                                             under the curve
           (AUCinfinity) as compared to   (AUCinfinity) as compared to
                                                                             (AUCinfinity) is at least 80%
      44   the bioavailability which is   the bioavailability which is
                                                                             of an equal dose of
           achieved from an               achieved from an immediate
                                                                             gabapentin in an
           immediate release dosage       release dosage form
                                                                             immediate release dosage
           form comprising the same       comprising the same dose of
                                                                             form
           dose of gabapentin             gabapentin

           Consistent with its plain and ordinary meaning as understood in light of the intrinsic

 evidence, the phrase “without loss in bioavailability” should be interpreted to mean without any

 loss in bioavailability. (See Lowman Decl. ¶ 68.) Any other construction would deviate from

 the ordinary meaning and violate the doctrine of claim differentiation. Specifically, separate

 claims in the earlier-filed ‘989 patent and later-filed ‘332 patent explicitly state that the gastric

 20
      This disputed claim term is found in claims 1-12 of the ‘756 patent.



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 retained dosage form need only have 80% of the bioavailability of an immediate release dosage

 form.21 In the ‘756 patent, however, the claims are more stringent than those of the ‘989 patent

 or ‘332 patent – they state “without loss in bioavailability.” This difference in claim language

 between claims of the ‘756 patent and the ‘989 and ‘332 patents is presumed to signal a different

 scope in the claims. See, e.g., Kara, 582 F.3d at 1347 (noting that differences among claims in

 related patents can be a useful guide in understanding the meaning of particular claim terms).

        The intrinsic evidence supports this construction. For example, an example in the

 specification of the ‘756 patent purports to show that one formulation (GR8 600 mg 1 x tablet)

 had no loss in bioavailability (AUCinfinity in the claims) relative to an equal dose of an immediate

 release gabapentin (Neurontin®, 300 mg 2 x capsules). (See ‘756 patent, 11:41-12:38.)

        Depomed seeks to improperly expand the scope of the claims by asserting that “without

 loss in bioavailability” means “at least 80%” of the bioavailability – i.e., permits up to a 20%

 loss in bioavailability. The patentee, however, used more stringent terms than “at least 80%” – it

 chose to use “without loss in bioavailability.” To allow Depomed to now expand the scope of

 the claims would be unfairly prejudicial and defeat the public notice function of the claims.



                                          CONCLUSION

        For the foregoing reasons, Defendants respectfully request that this Court adopt their

 proposed constructions for the disputed claim terms.




 21
    (See ‘989 patent, 12:36-38 (“wherein the gabapentin has a bioavailability greater than or equal
 to 80% of an equal dose of gabapentin in an immediate release dosage form”); see also, e.g.,
 ‘332 patent, 12:19-22 (“bioavailability of gabapentin is at least 80% of that provided by the
 immediate release dosage form comprising an equal amount of gabapentin as measured by the
 area under the plasma concentration-time curve, AUCinf”).)



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 Dated: January 22, 2013                   Respectfully Submitted,

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